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13
                           IN THE UNITED STATES DISTRICT COURT
14
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
     WPENGINE, INC., a Delaware corporation,         Case No. 3:24-cv-06917-AMO
16
                   Plaintiff,                        PLAINTIFF WP ENGINE, INC.’S
17                                                   OBJECTION TO DEFENDANTS’ REPLY
            vs.                                      EVIDENCE
18
     AUTOMATTIC INC., a Delaware corporation; Judge: Honorable Araceli Martínez-Olguín
19   and MATTHEW CHARLES MULLENWEG, Courtroom:                10
     an individual,                           Hearing Date:   June 5, 2025
20                                            Hearing Time: 2:00 p.m.
                    Defendants.
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                                                                          Case No. 3:24-cv-06917-AMO
                                         PLAINTIFF WP ENGINE, INC.’S OBJECTION TO REPLY EVIDENCE
     Case 3:24-cv-06917-AMO           Document 112         Filed 02/26/25     Page 2 of 4




 1          Pursuant to Northern District of California Civil Local Rule 7-3(d)(1), Plaintiff WP Engine

 2 (“WPE”) objects to new evidence Defendants Automattic Inc. and Matthew Charles Mullenweg

 3 (“Defendants”) filed in support of their Reply in Support of Motion to Dismiss and Strike Plaintiff’s

 4 Amended Complaint (Dkt. 106, “Reply”).            Specifically, WPE objects to the six exhibits (the

 5 “Exhibits”) attached to Defendants’ Supplemental Request for Judicial Notice (Dkt. 107) and cited in

 6 Defendants’ Reply (Dkt. 106 at 1, 6, 10-16), on the grounds below.

 7                                              ARGUMENT

 8 I.       EXHIBITS 5 AND 6 ARE MISDESCRIBED AND EXHIBIT 5 IS FACIALLY
            INCOMPLETE
 9
            Defendants claim Exhibit 5 is a copy of a September 21, 2024 article available at
10
     https://wordpress.org/news/2024/09/wp-engine/ and Exhibit 6 is a copy of a September 25, 2024
11
     article available at https://wordpress.org/news/2024/09/wp-engine-banned/. Dkt. 107 at 1. Yet, the
12
     content of Exhibits 5 and 6 differ from what appears if one clicks on these URLs. Based on the
13
     markings on Exhibits 5 and 6, it appears that they may be printouts from the Wayback Machine.
14
     Compare https://wordpress.org/news/2024/09/wp-engine/ (“And they’re profiting off of the
15
     confusion. WP Engine needs a trademark license to continue their business. I spoke yesterday at
16
     WordCamp . . . ”), with 107-5 at 2 (“And they’re profiting off of the confusion. I spoke yesterday at
17
     WordCamp . . . ”); compare https://wordpress.org/news/2024/09/wp-engine-banned (“Any WP
18
     Engine customers having trouble with their sites should contact WP Engine support and ask them to
19
     fix it. WP Engine needs a trademark license, they don’t have one. I won’t bore you with the story . .
20
     .”), with 107-6 at 2 (“Any WP Engine customers having trouble with their sites should contact WP
21
     Engine support and ask them to fix it. I won’t bore you with the story . . . ”). Because Exhibits 5 and
22
     6 do not appear to be authentic copies of what Defendants claim them to be, they do not constitute
23
     facts that are not subject to a reasonable dispute and they should not be admitted under Rule 201 of
24
     the Federal Rules of Evidence. Fed. R. Evid. 201(b). For the avoidance of doubt, WPE has no
25
     objection to the Court taking judicial notice of the existence of these articles if they accurately
26
     depicted their contents.
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                                                     -1-                    Case No. 3:24-cv-06917-AMO
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 1          Exhibit 5 is also objectionable for the independent reason that it is apparent from the face of

 2 the document that it is incomplete. M.O.R.E., LLC v. United States, 2015 WL 5093621, at *3 (N.D.

 3 Cal. Aug. 28, 2015) (denying request for judicial notice of document that “appears to be both

 4 incomplete and with pages out of order”); see City of Miami Gen. Emps.’ & Sanitation Emps’ Ret.

 5 Tr. v. RH, Inc., 302 F. Supp. 3d 1028, 1033 n.1 (N.D. Cal. 2018) (“Courts frequently decline to take

 6 judicial notice of filings which are incomplete or truncated”). Exhibit 5 purports to be an article,

 7 but it contains incomplete sentences that are unintelligible. See Dkt. 107-5 at 3 (incomplete sentence

 8 that reads “Every change”), Dkt. 107-5 at 5 (incomplete sentence that says “We must set a higher

 9 standard to”). It is also apparent on the face of Exhibit 5 that it is missing other substantive content.

10 Exhibit 5 specifically refers to a screenshot and states that the screenshot is pasted into the text, but

11 the screenshot is not visible in Exhibit 5. See Dkt. 107-5 at 3 (stating “Here is a screenshot of their

12 support page saying they disable this across their 1.5 million WordPress installs”).

13 II.      THE CONTENTS OF EXHIBITS 1, 2, 5, AND 6 MAY NOT BE ADMITTED FOR
            THEIR TRUTH
14
            WPE objects to Exhibit 1, a printout of a webpage titled “Plugin Developer FAQ” from
15
     wordpress.org, Exhibit 2, a printout of a webpage titled “Detailed Plugin Guidelines” from
16
     wordpress.org and Exhibits 5 and 6, to the extent the above objection to Exhibits 5 and 6 in their
17
     entirety is not sustained, because these exhibits cannot be considered for their truth. The Ninth Circuit
18
     has established a clear rule: when courts take judicial notice (as Defendants request here) of the
19
     existence of documents such as public websites, such notice does not extend to deeming the entire
20
     contents of those documents as true. Threshold Enterprises Ltd. V. Pressed Juicery, Inc., 445 F.
21
     Supp. 3d 139, 146 (N.D. Cal. 2020) (“To the extent the Court takes judicial notice that these
22
     [screenshots and printouts of websites of the parties, social media websites, and information and news
23
     websites] contain certain information, the Court notices only the fact that the documents contain the
24
     referenced content. The Court does not take judicial notice of the truth of that content.”) “Just
25
     because the document itself is susceptible to judicial notice does not mean that every assertion of fact
26
     within that document is judicially noticeable for its truth.” Khoja v. Orexigen Therapeutics, Inc., 899
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     F.3d 988, 999 (9th Cir. 2018). Rather, only facts within documents that are “not subject to reasonable
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                                                      -2-                    Case No. 3:24-cv-06917-AMO
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 1 dispute” are candidates for judicial notice. Id. (quoting Fed. R. Evid. 201(b)). Accordingly, WPE

 2 objects to the admission of the content of these exhibits for their truth, which contradicts the well-

 3 established Ninth Circuit rule.

 4 III.      THE CONTENTS OF EXHIBITS 3 AND 4 MAY NOT BE ADMITTED FOR THEIR
             TRUTH
 5
             Exhibits 3 and 4 are purported transcripts of Defendants’ own online speeches. For the same
 6
     reasons described above, WPE objects to the use of these exhibits for the truth of the statements
 7
     contained therein. Khoja, 899 F.3d at 999-1000.
 8
                                               CONCLUSION
 9
             For the foregoing reasons, WPE respectfully requests that the Court sustain this objection
10
     under L.R. 7-3(d)(1), decline to take judicial notice of the evidence in Exhibits 5 and 6 because they
11
     are subject to reasonable dispute, and refuse to consider the statements in any of the exhibits for
12
     their truth.
13

14

15
     Dated: February 26, 2025                   Respectfully submitted,
16                                              QUINN EMANUEL URQUHART & SULLIVAN LLP
17                                              By /s/ Rachel Herrick Kassabian
18                                                Rachel Herrick Kassabian
                                                  Attorneys for Plaintiff, WPEngine, Inc.
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                                           PLAINTIFF WP ENGINE, INC.’S OBJECTION TO REPLY EVIDENCE
